

Per curiam.

With respect to the term dwelling house, as used in an indictment for burglary, it hath a technical meaning, not that meaning which is annexed to it in common acceptation. All out houses standing in the same yard with the dwelling house, and used by the owner of the dwelling house as appurtenant thereto, whether the yard be open or emlosed, are in the eye of the law parts of the dwelling house ; and will satisfy that word used in an indictment of burglary- So if a store house stand out of the yard and curtilage, and be separated therefrom, but the owner or his servants sometimes sleep therein, it is in law a dwelling house. 1 H. H. P. C. 557. And here it being proved bv Solomon Smith, that he acted as the store keeper o t' Law repice Smith, and as his servant, and that he had frequently slept in this house through the fall in which the breaking was committed, if the jury„Jjglievc the prisoner is the person who broke the house, and stole the money as laid in the. bill of indictment, they ought to find him guilty of the burglary. He was found guilty accordingly, and had judgment of death •, but the Governor pardoned him.
Note.—Vide State v. Twitty, ante 102. State v. Langford, 1 Dev. Rep. 253.
